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                           IN THE UNITED STATES DISTRICT COURT

                             FOR THE EASTERN DISTRICT OF TEXAS
                                           TYLER DIVISION

 CARL ELMON HUNT                                      §

 v.                                                   §    CIVIL ACTION NO. 6:18cv414
 JON DOE, ET AL.                                      §


                                        ORDER OF DISMISSAL


         The above-styled and numbered civil action was heretofore referred to United States

 Magistrate Judge K. Nicole Mitchell. The Report and Recommendation of the Magistrate Judge,

 which contains proposed findings of fact and recommendations for the disposition of such action,
 has been presented for consideration, and no objections thereto having been timely filed, the Court

 is of the opinion that the findings and conclusions of the Magistrate Judge are correct, and adopts

 same as the findings and conclusions of the court. It is accordingly
         ORDERED that the above-styled civil action is DISMISSED WITHOUT PREJUDICE

 for failure to effect service of process. It is further

         ORDERED that the statute of limitations is SUSPENDED for a period of 90 days from the

 date of entry of final judgment. Finally, it is
         ORDERED that all motions not previously ruled on are DENIED.

         SIGNED this the 5 day of November, 2020.




                                          ____________________________
                                          Thad Heartfield
                                          United States District Judge




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